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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                               )
FREE SPEECH FOR PEOPLE, et al.,                )
                                               )
               Plaintiffs,                     )      Civ. No. 22-cv-666 (CKK)
                                               )
               v.                              )
                                               )
FEDERAL ELECTION COMMISSION,                   )       [PROPOSED] ORDER
                                               )
               Defendant.                      )
                                               )

                                      [PROPOSED] ORDER

       Upon consideration of defendant Federal Election Commission’s Motion to Dismiss

plaintiffs Free Speech for People and Campaign for Accountability’s Complaint (Doc. 1), and

any opposition filed by plaintiffs,

       It is hereby ORDERED that the Federal Election Commission’s Motion to Dismiss is

GRANTED, and that plaintiffs’ Complaint is DISMISSED WITH PREJUDICE.



______________________________                     ______________________________
Date                                               Hon. Colleen Kollar-Kotelly
                                                   United States District Judge
